Case 8:16-cv-02144-JDW-TBM Document 1 Filed 07/26/16 Page 1 of 9 PageID 1




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 JOAN FIELDS,

        Plaintiff,

 -vs-                                             CASE NO.:

 BLUESTEM BRANDS, INC, d/b/a
 FINGERHUT,

        Defendant
                                         /


                                        COMPLAINT

         COMES NOW Plaintiff, Joan Fields, by and through the undersigned counsel, and

 sues Defendant, BLUESTEM BRANDS, INC., D/B/A FINGERHUT, and in support thereof

 respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et

 seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq.

 (“FCCPA”).

                                       INTRODUCTION

         1.      The TCPA was enacted to prevent companies like BLUESTEM BRANDS,

 INC., D/B/A FINGERHUT from invading American citizen’s privacy and prevent abusive

 “robo-calls.”

         2.      “The TCPA is designed to protect individual consumers from receiving

 intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct.,

 740, 745, 181, L.Ed. 2d 881 (2012).




                                              1
Case 8:16-cv-02144-JDW-TBM Document 1 Filed 07/26/16 Page 2 of 9 PageID 2




        3.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256

 scourge of modern civilization, they wake us up in the morning; they interrupt our dinner at

 night; they force the sick and elderly out of bed; they hound us until we want to rip the

 telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably

 intended to give telephone subscribers another option: telling the autodialers to simply stop

 calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

        4.      According to the Federal Communications Commission (FCC), “Unwanted

 calls and texts are the number one complaint to the FCC. There are thousands of complaints

 to the FCC every month on both telemarketing and robocalls. The FCC received more than

 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower

 Consumers     Against     Unwanted     Robocalls,    Texts   to   Wireless       Phones,   Federal

 Communications                Commission,                (May              27,             2015),

 http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-333676A1.pdf.

                                JURISDICTION AND VENUE

        5.      This is an action for damages exceeding Seventy-five Thousand Dollars

 ($75,000.00) exclusive of attorney fees and costs.

        6.      Jurisdiction and venue for purposes of this action are appropriate and

 conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

 violations of the TCPA.

        7.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this

 action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district

 courts shall have original jurisdiction of all civil actions arising under the Constitution, laws,



                                                 2
Case 8:16-cv-02144-JDW-TBM Document 1 Filed 07/26/16 Page 3 of 9 PageID 3




 or treaties of the United States; and this action involves violations of 47 U.S.C. §

 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v.

 State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014)

          8.    Venue is proper in this District as Plaintiff resides within this District

 (Pinellas, County, Florida), the violations described in this Complaint occurred in this

 District and the Defendant transacts business within Pinellas County, Florida.

                                 FACTUAL ALLEGATIONS

          9.    Plaintiff is a natural person, and citizen of the State of Florida, residing in

 Pinellas County, Florida

          10.   Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

          11.   Plaintiff is an “alleged debtor.”

          12.   Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F.

 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir.

 2014).

          13.   Defendant, BLUESTEM BRANDS, INC., D/B/A FINGERHUT (herinafter

 “Bluestem”) is a corporation which was formed in Delaware with its principal place of

 business located at 6509 Flying Cloud Drive, Eden Prairie, MN 55344 whose registered

 agent, CT Corporation is located at 100 South 5th Street, Suite 1075, Minneapolis, MN 55402

 and who conducts business in the state of Florida.

          14.   The debt that is the subject matter of this Complaint is a “consumer debt” as

 defined by Florida Statute §559.55(6).

          15.   On or about October 30, 2015 Plaintiff ordered merchandise from Defendant.



                                                    3
Case 8:16-cv-02144-JDW-TBM Document 1 Filed 07/26/16 Page 4 of 9 PageID 4




        16.     Approximately five (5) minutes after the ordering merchandise, Plaintiff

 cancelled the order.

        17.     Bluestem called Plaintiff on Plaintiff’s cellular telephone approximately five

 hundred (500) times since October 30, 2015, in an attempt to collect a debt on merchandise

 Plaintiff never received.

        18.     Bluestem attempted to collect an alleged debt from Plaintiff by this campaign

 of telephone calls.

        19.     Bluestem intentionally harassed and abused Plaintiff on numerous occasions

 by calling several times during one day and on back to back days, with such frequency as can

 reasonably be expected to harass.

        20.     Upon information and belief, some or all of the calls the Defendant made to

 Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

 system” which has the capacity to store or produce telephone numbers to be called, using a

 random or sequential number generator (including but not limited to a predictive dialer) or an

 artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1)

 (hereinafter “autodialer calls”). Plaintiff will testify that she knew it was an autodialer

 because of the vast number of calls she received and because she heard a pause when she

 answered her phone before a voice came on the line and/or she received prerecorded

 messages from Bluestem.

        21.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

 number (813) ***-2861, and was the called party and recipient of Defendant’s calls.




                                               4
Case 8:16-cv-02144-JDW-TBM Document 1 Filed 07/26/16 Page 5 of 9 PageID 5




         22.     Beginning on or about October 30, 2015, Bluestem began bombarding

 Plaintiff’s cellular telephone (813) ***-2861 in an attempt to collect a debt on merchandise

 never received by Plaintiff

         23.     Defendant knowingly and/or willingly harassed and abused Plaintiff on

 numerous occasions by calling Plaintiff’s cellular telephone number up to three (3) times a

 day from approximately October 30, 2015 through the filing of this complaint, with such

 frequency as can reasonably be expected to harass, all in an effort related to the collection of

 the subject account.

         24.     In or about November 2015 Plaintiff first requested that the calls to her cell

 phone cease. The Plaintiff orally revoked her consent to be called by the Defendant many

 more times in an effort to stop the collection calls.

         25.     Each of the auto dialer calls the Defendant made to the Plaintiff’s cellular

 telephone after November 2015 were done so after she revoked consent.

         26.     Plaintiff is the regular user and carrier of the cellular telephone number (813)

 ***-2861 and was the called party and recipient of Defendant’s auto dialer calls.

         27.     The auto dialer calls from Defendant came from the telephone numbers

 including but not limited to (800) 208-2500 and (800) 603-7052, and when those numbers

 are called, a pre-recorded voice answers and identifies the company as “Fingerhut”.

         28.     Despite the Plaintiff’s multiple requests for the calls to stop, the Defendant

 continued to call the Plaintiff.




                                                 5
Case 8:16-cv-02144-JDW-TBM Document 1 Filed 07/26/16 Page 6 of 9 PageID 6




         29.     The Plaintiff received an estimated five hundred (500) calls from the

 Defendant between the time she initially revoked consent to be called in November 2015 and

 the filing of this law suit.

         30.     Despite Plaintiff informing Defendant to stop calling, the Defendant called the

 Plaintiff repeatedly, including but not limited to calls Plaintiff was able to log on February

 19, 2016; February 20, 2016, February 21, 2016; February 22, 2016 and February 23, 2016.

         31.     Plaintiff suffers from Multiple Sclerosis and experienced physical pain each

 time she answered the telephone.

         32.     Bluestem has a corporate policy to use an automatic telephone dialing system

 or a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s cellular

 telephone in this case.

         33.     Bluestem has a corporate policy to use an automatic telephone dialing system

 or a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in this case,

 with no way for the consumer, Plaintiff, or Bluestem, to remove the number.

         34.     Bluestem’s corporate policy is structured so as to continue to call individuals

 like Plaintiff, despite these individuals explaining to Bluestem they wish for the calls to stop.

         35.     Bluestem has numerous other federal lawsuits pending against it alleging

 similar violations as stated in this Complaint.

         36.     Bluestem has numerous complaints across the country against it asserting that

 its automatic telephone dialing system continues to call despite requested to stop.

         37.     Bluestem has had numerous complaints from consumers across the country

 against it asking to not be called; however, Defendant continues to call the consumers.



                                                   6
Case 8:16-cv-02144-JDW-TBM Document 1 Filed 07/26/16 Page 7 of 9 PageID 7




         38.     Bluestem’s corporate policy provided no means for Plaintiff to have her

 number removed from Defendant’s call list.

         39.     Bluestem has a corporate policy to harass and abuse individuals despite actual

 knowledge the called parties do not wish to be called.

         40.     Not a single call placed by Bluestem to Plaintiff were placed for “emergency

 purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

         41.     Bluestem willfully and/or knowingly violated the TCPA with respect to

 Plaintiff.

         42.     As a result of the answered and unanswered calls described above, Plaintiff

 suffered an invasion of privacy. Plaintiff was also affected in a personal and individualized

 way by stress, anxiety, nervousness, embarrassment, distress, aggravation and physical pain.

 Due to both answered and unanswered calls, Plaintiff suffered the expenditure of Plaintiff’s

 time, exhaustion of Plaintiff’s cellular telephone battery, unavailability of Plaintiff’s cellular

 telephone while ringing, waste of Plaintiff’s time, causing the risk of personal injury due to

 distraction, and trespass upon Plaintiff’s chattels. All of the abovementioned were caused by,

 and/or directly related to, Defendant’s attempts to collect a debt from Plaintiff through the

 use of automated/predictive dialing technology.

                                             COUNT I
                                      (Violation of the TCPA)

         43.     Plaintiff fully incorporates and realleges paragraphs one (1) through forty-two

 (42) as if fully set forth herein.

         44.     BLUESTEM BRANDS, INC., D/B/A FINGERHUT willfully violated the

 TCPA with respect to Plaintiff, especially for each of the auto-dialer calls made to Plaintiff’s


                                                 7
Case 8:16-cv-02144-JDW-TBM Document 1 Filed 07/26/16 Page 8 of 9 PageID 8




 cellular telephone after Plaintiff notified BLUESTEM BRANDS, INC., D/B/A FINGERHUT

 that she wished for the calls to stop.

           45.    BLUESTEM BRANDS, INC., D/B/A FINGERHUT repeatedly placed non-

 emergency telephone calls to Plaintiff’s cellular telephone using an automatic telephone

 dialing system or prerecorded or artificial voice without Plaintiff’s prior express consent in

 violation of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

           WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable

 and judgment against BLUESTEM BRANDS, INC., D/B/A FINGERHUT for statutory

 damages, punitive damages, actual damages, treble damages, enjoinder from further

 violations of these parts and any other such relief the court may deem just and proper.

                                             COUNT II
                                     (Violation of the FCCPA)

           46.    Plaintiff fully incorporates and realleges paragraphs one (1) through forty-two

 (42) as if fully set forth herein

           47.    At all times relevant to this action BLUESTEM BRANDS, INC., D/B/A

 FINGERHUT is subject to and must abide by the laws of the State of Florida, including

 Florida Statute § 559.72.

           48.    BLUESTEM BRANDS, INC., D/B/A FINGERHUT has violated Florida

 Statute § 559.72(7) by willfully communicating with the debtor or any member of his or her

 family with such frequency as can reasonably be expected to harass the debtor or his or her

 family.




                                                 8
Case 8:16-cv-02144-JDW-TBM Document 1 Filed 07/26/16 Page 9 of 9 PageID 9




        49.     BLUESTEM BRANDS, INC., D/B/A FINGERHUT has violated Florida

 Statute § 559.72(7) by willfully engaging in other conduct which can reasonably be expected

 to abuse or harass the debtor or any member of his or her family.

        50.     BLUESTEM BRANDS, INC., D/B/A FINGERHUT’s actions have directly

 and proximately resulted in Plaintiff’s prior and continuous sustaining of damages as

 described by Florida Statute § 559.77.

        51.            WHEREFORE, Plaintiff respectfully demands a trial by jury on all

 issues so triable and judgment against BLUESTEM BRANDS, INC., D/B/A FINGERHUT

 for statutory damages, punitive damages, actual damages, costs, interest, attorney fees,

 enjoinder from further violations of these parts and any other such relief the court may deem

 just and proper.

                                              Respectfully submitted,

                                               /s/Frank H. Kerney, III, Esquire
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                                               9
